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13                                UNITED STATES DISTRICT COURT
14                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                              Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of              DECLARATION OF T     D
   themselves and all others similarly situated,               M      IN SUPPORT OF
17               Plaintiffs,
                                                               PLAINTIFFS’ MOTIONS FOR
                                                               PRELIMINARY INJUNCTION
18        v.                                                   AND PROVISIONAL CLASS
                                                               CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4336723.1]
                   DECLARATION OF T    D   M      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                       PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1         I, T    D    M      , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I have been incarcerated at FCI Dublin since February 2022. In the past I
 6 was incarcerated by the Bureau of Prisons (BOP) at a detention center in Pahrump,
 7 Nevada. In the future BOP may transfer me to other BOP facilities, but at any point I
 8 could be transferred back to FCI Dublin.
 9         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of serious harm from
12 sexual assault, harassment, and retaliation from staff. The culture of abuse and retaliation
13 here is unbearable and must end.
14         4.     I often think to myself that I was put in prison to be rehabilitated, but I will
15 be leaving this place so much worse off than when I arrived. I recently had a terrible and
16 violative experience with a guard named Officer Cooper. I encountered serious barriers to
17 reporting that abuse, and ultimately suffered retaliation from staff because I reported.
18         5.     On the night of June 16, 2023, I was taking a shower in my housing unit after
19 count. A male guard named Officer Cooper was working in our unit. He was known in our
20 unit for being rude and yelling at us for no reason. The showers in our unit are in stalls
21 with flimsy plastic curtains that are almost see-through. Officer Cooper entered the
22 bathroom while I was in the shower and started yelling at me and shining a flashlight on
23 the shower curtain. He then kicked the curtain multiple times, pushing it aside so that my
24 naked body was in full view. He screamed at me to get out of the shower. I grabbed a
25 towel and rushed out, shaking. I felt very violated and upset. I told him that what he did
26 was inappropriate, and I wanted to report a PREA report against him, and asked him to get
27 a lieutenant. He followed me back to my cell and stood outside for many minutes while I
28 got changed. He did not call the lieutenant. After he left, I wrote an email to SIS describing
   [4336723.1]                                   2
             DECLARATION OF T    D   M      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                 PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 what happened.
 2          6.    The next morning Lieutenant Hardy came to interview me. I described what
 3 happened the night before, but I felt like she did not take what I said seriously. Later that
 4 day, Officer Cooper handed me a write up for falsifying statements, disobeying an order,
 5 and being out of bounds. Later that afternoon he came back after he was told to leave by
 6 another lieutenant. But Lieutenant Hardy rewrote the report with him so that it looked like
 7 nothing happened, to make it seem like I never made a PREA report. I went to speak with
 8 Lieutenant Hardy and asked her why Officer Cooper was still working in my housing unit
 9 after I filed a PREA report against him. Lieutenant Hardy told me that she didn’t know that
10 I filed a PREA report against him, even though we had just spoken about it that morning.
11 She was so rude; she called me a liar, and she was retaliating against me.
12          7.    About a week after this incident, the facility psychologist came to see me. I
13 told him what happened, and he also did not seem to take me seriously. He even asked me
14 “well why were you in the shower anyways?” It felt like he was blaming me for Officer
15 Cooper’s PREA violation. SIS Lieutenant Putnam came to interview me that week as well.
16 He told me he would follow up with me, but I haven’t heard anything from him since.
17          8.    In the days after this incident, I spoke with a friend in my dorm who shared
18 that Officer Cooper had also pulled the curtain back while she was in the shower. I’ve
19 since learned about two other women who experienced the same thing. Four women in
20 total.
21          9.    After I reported Officer Cooper, other staff retaliated against me. The week
22 after my report, an officer gave me a bogus write up for being outside of my cell, even
23 though I had permission to be where I was. That same week yet another officer hit my
24 room, tossing my belongings everywhere and breaking my headphones. To me these were
25 clear punishments for speaking out.
26          10.   There is no effective way to confidentially report sexual assault and abuse by
27 staff at FCI Dublin. Staff here do not take reports seriously. They protect each other above
28 all else. I had to speak with two lieutenants and file a report with SIS before Officer
   [4336723.1]                                    3
             DECLARATION OF T    D   M      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 Cooper was removed from my housing unit. Staff also do not keep our reports confidential.
 2 After I reported Officer Cooper, two other officers made comments to me about my report,
 3 meaning that they somehow found out about it.
 4                 11.   Staff at FCI Dublin also prevent people from reporting sexual assault and
 5 abuse by staff and retaliate against people who do report. I know so many people who have
 6 been retaliated against for reporting staff misconduct at FCI Dublin – who’ve been thrown
 7 into solitary, transferred away, strip searched, and more. This makes people scared to
 8 report. I probably would not have reported Officer Cooper if I were not close to my release
 9 date.
10                 12.   There is little to no confidential mental health care available to survivors of
11 sexual abuse and assault at FCI Dublin. The psychology unit is extremely understaffed and
12 it’s hard to even get an appointment. I also do not trust the staff there, especially after the
13 psychologist did not take me seriously and seemed to blame me for Officer Cooper
14 opening the curtain while I was in the shower. I would really like mental healthcare. I was
15 sexually assaulted and abused when I was young and this incident is bringing up a lot of
16 trauma for me. I feel vulnerable and scared and alone.
17                 13.   There is little to no medical care available to survivors of sexual abuse and
18 assault at FCI Dublin. The medical unit is understaffed and it takes forever to get an
19 appointment, if you can get one at all. Most of the old medical staff was walked off
20 because they sexually abused women here, and the new staff are extremely rude and cruel
21 to us. I had an allergic reaction that caused my face to swell up, and I went to medical for
22 help. I waited 5 hours, and when I asked a staff person when I would be seen, he told me:
23 “just shut your big fat mouth.” He was so aggressive towards me and screaming that other
24 staff had to hold him back.
25 / / /
26 / / /
27 / / /
28 / / /
     [4336723.1]                                         4
                    DECLARATION OF T    D   M      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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